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                       THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 GARY ADKISON, LANITA ADKISON,                       §
 BRITTANY KING, Individually and as Heir             §
 of the Estate of RYAN KING, and as next             §
 friend for B.S.K. and B.A.K., Minors,               §
 And Heirs of the Estate of RYAN KING, and           §
 HOLLY ADKISON CRAYCRAFT, as next                    §
 friend for K.G.A., a Minor and Heir of the          §
 Estate of BRYSON ADKISON,                           §
                                                     §
        Plaintiffs,
                                                     §
                                                     §
 v.                                                  §         Case No. 3:18-cv-02014-M
                                                     §
 POLARIS INDUSTRIES, INC. (“Polaris                  §
 Industries”), POLARIS INDUSTRIES, INC.              §           Jury Trial Requested
 (“Polaris of Delaware”), POLARIS SALES,             §
 INC. (“Polaris Sales”),                             §
                                                     §
                                                     §
        Defendants.
                                                     §

       DEFENDANTS’ LIMITED OBJECTION TO GUARDIANS AD LITEM’S
             FIRST AMENDED REPORTS AND RECCOMENDATIONS
______________________________________________________________________________

       Defendants Polaris Industries Inc. and Polaris Sales, Inc. (collectively “Polaris”), by and

through their counsel of record, hereby file a narrow objection to the December 6, 2021 and

December 7, 2021 First Amended Guardian Ad Litem Reports (“Amended Reports”) submitted to

the Court limited solely to the recommended allocation of all costs and fees of the Guardians Ad

Litem to Polaris.

                                      INTRODUCTION

       The Guardians Ad Litem (“GALs”) appointed in this case have both filed Amended

Reports seeking additional fees for themselves and for attorneys retained by them to prepare trust

documents for certain of the minor Plaintiffs. These additional fees were only incurred because

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the mother of two of the minor Plaintiffs, B.A.K. and B.S.K., rejected the structured settlement

originally recommended by the GAL and instead requested that her children’s settlement proceeds

be placed in trust. The GALs submitted their original reports on October 27, 2021, Polaris filed

its Limited Objection to the GALs’ original Reports on November 3, 2021, and the matter was set

for hearing on November 10, 2021. Due to the last-minute objection lodged by B.A.K. and

B.S.K.’s mother, on November 8, 2021, Plaintiffs moved to continue the November 10, 2021

hearing to December 16, 2021 so that the Plaintiffs could prepare the required trust documents for

the trust requested by B.A.K. and B.S.K.’s mother. The GALs incurred approximately $21,000 in

additional fees and expenses between the filing of their original Reports on October 27, 2021 and

the filing of their Amended Reports on December 6 and 7, 2021. Polaris certainly should not be

forced to pay the additional approximately $21,000 in GAL fees and expenses incurred because

B.A.K. and B.S.K.’s mother objected to the structured settlement proposed by the GAL.

                                         DISCUSSION

       On October 27, 2021, the GALs submitted their confidential Reports to the Court. Both

GALs found:

           the aggregate settlement amount to be fair and reasonable;

           the allocation of the settlement proceeds equally among the four Plaintiffs to be fair
            and reasonable;

           that Plaintiffs’ counsel should be awarded a 37% attorney’s fee out of each Plaintiff’s
            recovery;

           that Plaintiffs’ counsel’s expenses should be reimbursed to Plaintiffs’ counsel out of
            each Plaintiff’s recovery;

           that the minors’ settlement proceeds be used to purchase annuities to allow for tax-
            free growth and the payment of college expenses; and

           that Polaris should be ordered to pay the GALs’ fees and expenses.



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         Polaris had no objection to any of the recommendations in the original GAL Reports

other than the proposal that Polaris pay the GALs’ fees and expenses. On November 3, 2021,

Polaris filed a Limited Objection to Guardian ad Litem’s Reports and Recommendations because,

based on the discussions of counsel for the parties at the time of the settlement and as memorialized

in Paragraph 8(c) of the Settlement Agreement, Polaris understood that it was obligated to pay the

one-time lump-sum settlement payment and nothing more. (Dkt. 169.) The matter was set for

hearing on November 10, 2021. (Dkt. 163.)

       Thereafter, Polaris learned that B.A.K. and B.S.K.’s mother objected to the structured

settlement proposed by GAL Faith Bruner and instead wanted her children’s settlement proceeds

placed in trust. In order to work through these issues, on November 8, 2021, Plaintiffs filed an

Unopposed Motion for Continuance of Hearing Regarding Settlement Involving Minor Plaintiffs.

(Dkt. 170.) Absent the objection raised by B.A.K. and B.S.K.’s mother, the parties would have

been ready to proceed with the hearing on November 10, 2021.

       Polaris has no objection to B.A.K. and B.S.K.’s settlement proceeds being placed in trust

and understands that B.A.K. and B.S.K.’s mother was seeking better investment returns for her

children and greater flexibility relating to access to the settlement proceeds. Polaris’s only

objection is being forced to pay for the additional fees incurred to accomplish this.

       When the original GAL Reports were filed Ms. Bruner was seeking $18,068.70 in fees and

Ms. Ginsburg Guerrero was seeking $11,970.00 in fees, for a total of $30,038.70. In the Amended

Reports, Ms. Bruner is seeking $31,245.20 in fees and expenses and Ms. Ginsburg Guerrero is

seeking $19,811.00 in fees, for a total of $51,056.20. Thus, the GAL fees and expenses have

increased by $21,017.50 as a result of B.A.K. and B.S.K.’s mother’s desire to have greater

investment returns and greater access to the settlement proceeds. While Polaris does not have any



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objection to B.A.K. and B.S.K.’s settlement proceeds being placed in trust, Polaris does object to

being forced to pay the GAL fees associated with this change in how the settlement funds will be

invested for B.A.K. and B.S.K.

                                           CONCLUSION

        For the reasons set forth above, Defendants ask this Honorable Court to Order the

Plaintiffs to pay the reasonable and necessary fees and expenses of the Guardians Ad Litem, and

for such other and further relief as this Court finds just.



                                                        Respectfully submitted,

Date: December 13, 2021                                 _/s/ Dawn M. Beery_________
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                                                        Polaris Sales, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this the 13th day of December, 2021, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send notification of such
filing to each counsel of record. To the extent any such counsel is not registered for such electronic
delivery, the foregoing document will be served in accordance with the Federal Rules of Civil
Procedure.



                                                      /s/ Dawn M. Beery_________
                                                      Dawn M. Beery




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